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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION



 CHRISTOPHER MORALES, MARY
 HELEN MORALES,                                 §
                                                §
        Plaintiffs and Counter Defendant        §
                                                §
 v.                                             §     5:22-cv-00527-XR
                                                §
 SPECIALIZED LOAN SERVICING,                    §
 LLC,                                           §
                                                §
       Defendant and Counter Plaintiff          §

                      ORDER RE-SETTING STATUS CONFERENCE

        This case is re-set for a status conference and hearing on all pending motions, if any, on
Thursday, November 10, 2022 at 1 PM. All other deadlines established in this Court’s Amended
Scheduling Order, ECF No. 19, remain the same. The Courtroom Deputy will inform the parties
of the means by which the status conference will be conducted. The parties should be prepared to
discuss all pending motions.

       It is so ORDERED.

       SIGNED November 1, 2022.




                                                    XAVIER RODRIGUEZ
                                                    UNITED STATES DISTRICT JUDGE
